1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 1 of 40 Page ID
                                             #:76321
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 2 of 40 Page ID
                                             #:76322
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 3 of 40 Page ID
                                             #:76323
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 4 of 40 Page ID
                                             #:76324
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 5 of 40 Page ID
                                             #:76325
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 6 of 40 Page ID
                                             #:76326
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 7 of 40 Page ID
                                             #:76327
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 8 of 40 Page ID
                                             #:76328
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 9 of 40 Page ID
                                             #:76329
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 10 of 40 Page ID
                                              #:76330
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 11 of 40 Page ID
                                              #:76331
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 12 of 40 Page ID
                                              #:76332
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 13 of 40 Page ID
                                              #:76333
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 14 of 40 Page ID
                                              #:76334
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 15 of 40 Page ID
                                              #:76335
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 16 of 40 Page ID
                                              #:76336
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 17 of 40 Page ID
                                              #:76337
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 18 of 40 Page ID
                                              #:76338
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 19 of 40 Page ID
                                              #:76339
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 20 of 40 Page ID
                                              #:76340
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 21 of 40 Page ID
                                              #:76341
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 22 of 40 Page ID
                                              #:76342
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 23 of 40 Page ID
                                              #:76343
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 24 of 40 Page ID
                                              #:76344
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 25 of 40 Page ID
                                              #:76345
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 26 of 40 Page ID
                                              #:76346
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 27 of 40 Page ID
                                              #:76347
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 28 of 40 Page ID
                                              #:76348
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 29 of 40 Page ID
                                              #:76349
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 30 of 40 Page ID
                                              #:76350
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 31 of 40 Page ID
                                              #:76351
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 32 of 40 Page ID
                                              #:76352
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 33 of 40 Page ID
                                              #:76353
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 34 of 40 Page ID
                                              #:76354
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 35 of 40 Page ID
                                              #:76355
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 36 of 40 Page ID
                                              #:76356
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 37 of 40 Page ID
                                              #:76357
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 38 of 40 Page ID
                                              #:76358
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 39 of 40 Page ID
                                              #:76359
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-7 Filed 05/27/08 Page 40 of 40 Page ID
                                              #:76360
